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                     United States District Court
                                Southern District of Georgia

     ONE HUNDRED MILES
     ________________________                               4:22-cv-00297-RSB-CLR
                                                 Case No. ________________________
              Plaintiff

v.                                               Appearing on behalf of
     The UNITED STATES ARMY
     CORPS  OF ENGINEERS, et al.
     ________________________                         Plaintiff
                                                      _________________________________
             Defendant                                          (Plaintiff/Defendant)


                                  ORDER OF ADMISSION
         It appearing to the Court that the requirements stated in LR 83.4 for admission
         pro hac vice have been satisfied, Petitioner’s request to appear pro hac vice in
         the United States District Court for the Southern District of Georgia in the
         subject case is GRANTED.

         This WK day of -DQXDU\, .



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                                                              BBBBBB _____
                                                                         _____
                                                 UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                             *****
                                     Brittany Shaar
      NAME OF PETITIONER:            ______________________________________________________

                                     Southern Environmental Law Center
            Business Address:        ______________________________________________________
                                                         Firm/Business Name
                                     Ten 10th Street, Suite 1050
                                     ______________________________________________________
                                                               Street Address
                                                              Atlanta       GA    30309
                                     _____________________ ______________________ ________
                                       Street Address (con’t)     City     State     Zip

                                     ______________________________________________________
                                              Mailing Address (if other than street address)

                                     _____________________ ______________________ ________
                                         Address Line 2       City       State       Zip

                                     (404) 521-9900
                                     __________________________________  344169
                                                                        ___________________
                                      Telephone Number (w/ area code)    Georgia Bar Number

               Email Address:        bshaar@selcga.org
                                     ______________________________________________________
